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                                           FILED

                   UNITED STATES^mS'Ml?^l?<5uRT
                                    2020 HAY 18 AH 10: 33
                                    ^9M. SM^\Cr COURT
                                      DISTRICT OF MASS.
                     DISTRICT OF MASSACHUSETTS




UNITED STATES OF AMERICA,             :

V.
                                            Case No. 19-cr-10080




MOSSIMO GIANNULLI and LORI
LOUGHLIN,                                    MOTION FOR A
                  Defendants.                PERMANENT
                                             INJUNCTION
and


ROBERT A. HEGHMANN                           May 14, 2020
                   Intervenor.




               MOTION FOR A PERMANENT INJUNCTION

       Robert A. Heghmann hereby moves for a Permanent Injunction requiring the
Department of Justice and the Federal Bureau of Investigation to strictly adhere and
and obey the American Bar Association Model Rules of Professional Conduct
including, but not limited to, Special Responsibilities of a Prosecutor as adopted by
the Washington, D.C. Bar Association and interpreted by Washington, D.C. Courts.
                                              Respectfully submitted,


                                              Robert A. Heghmann
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